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AO 199A (Rev. ) Order Setting Conditions of Release                                                 Page 1 of   4   Pages



                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                         Western District
                                                      __________ District of
                                                                          of Arkansas
                                                                             __________


                    United States of America                             )
                               v.                                        )
                       Nathan Earl Hughes                                )        Case No. 5:23-mj-05009-001
                                                                         )
                               Defendant
                                                                         )

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

     The defendant must not violate federal, state, or local law while on release.

     The defendant must cooperate in the collection of a DNA sample if it is authorized by  U.S.C. § .

     The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

     The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.
      The defendant must appear at:               BEFORE: MJ ROBIN M. MERIWEATHER: VIA ZOOM
                                                                                         Place



      on                                                   Thursday, September, 14th at 12:30 EST
                                                                        Date and Time
       If blank, defendant will be notified of next appearance.

      The defendant must sign an Appearance Bond, if ordered.




If is further ordered that the defendant be released provided that the defendant executes an unsecured bonding binding
the defendant to pay the United States the sum of $5,000.00 in the event of a failure to appear as required or to
surrender as directed for service of any sentence imposed
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                                                       ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(    ) (6)   The defendant is placed in the custody of:
             Person or organization
             Address (only if above is an organization)
             City and state                                                                              Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

                                                                                 Signed:
                                                                                                                   Custodian                                              Date
( ■ ) (7) The defendant must:
     ( ■ ) (a) submit to supervision by and report for supervision to the US Probation Office                                                                    ,
               telephone number         (479) 442-9892      , no later than                                                                .
     ( ■ ) (b) continue or actively seek employment.
     (   ) (c) continue or start an education program.
     ( ■ ) (d) surrender any passport to:       US Probation Office
     ( ■ ) (e) not obtain a passport or other international travel document.
     ( ■ ) (f) abide by the following restrictions on personal association, residence, or travel:                       Travel restricted to the Western District of Arkansas,
                   Fayetteville Division and the District of Columbia, unless given prior approval from the pretrial services office.
      ( ■ ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                including: Avoid all contact with victim(s), witnesses, and codefendants.

      (      ) (h) get medical or psychiatric treatment:

      (      ) (i) return to custody each                         at               o’clock after being released at                         o’clock for employment, schooling,
                   or the following purposes:

      (   ) (j) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                necessary.
      ( ■ ) (k) not possess a firearm, destructive device, or other weapon.
      (   ) (l) not use alcohol (        ) at all (     ) excessively.
      (   ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                medical practitioner.
      (   ) (n) the defendant shall not purchase, possess, use, distribute or administer marijuana or obtain or possess a medical marijuana card or
                prescription. This condition supersedes standard condition 7(m) with respect to marijuana only. If the defendant is currently in possession
                of a medical marijuana card, he/she will turn it over immediately to the probation office.
      (   ) (o) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                of prohibited substance screening or testing.
      (   ) (p) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                supervising officer.
      ( ■ ) (q) participate in one of the following location restriction programs and comply with its requirements as directed.
                (    ) (i) Curfew. You are restricted to your residence every day (            ) from                 to               , or (    ) as
                             directed by the pretrial services office or supervising officer; or
                (    ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                            medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                            activities approved in advance by the pretrial services office or supervising officer; or
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                                                  ADDITIONAL CONDITIONS OF RELEASE
                    (  ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                               court appearances or other activities specifically approved by the court; or
                  ( ■ ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions. However,
                               you must comply with the location or travel restrictions as imposed by the court.
                               Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
      ( ■ ) (r) submit to the following location monitoring technology and comply with its requirements as directed:
                (    ) (i) Location monitoring technology as directed by the pretrial services or supervising officer; or
                (    ) (ii) Voice Recognition; or
                (    ) (iii) Radio Frequency; or
                ( ■ ) (iv) GPS.
      (   ) (s) pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or supervising
                officer.
      ( ■ ) (t) report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including arrests,
                questioning, or traffic stops.
      (   ) (u)
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